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                                   UNITED STATES DISTRICT COURT
                                      Northern District of California
                                         450 Golden Gate Avenue
                                      San Francisco, California 94102
                                           _____________
                                         www.cand.uscourts.gov
Richard W. Wieking                                                                General Court Number
Clerk                                                                                     415.522.2000
                                             June 19, 2008


CASE NUMBER: CV 98-00088 CRB
CASE TITLE: USA-v- Oakland Cannabis, et al
DATE MANDATE FILED: 6/19/08


TO COUNSEL OF RECORD:

       The mandate of the United States Court of Appeals for the Ninth Circuit has been filed
in the above captioned case.


                                                                  Sincerely,
                                                                  RICHARD W. WIEKING, Clerk




                                                                  by: Maria Loo
                                                                  Case Systems Administrator

Distribution: CIVIL            -        Counsel of Record

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                                        U.S. Marshal (Copy of Mandate)
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